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FORM TO BE USED B‘I' PRISONERS IN E`ILING A COMPLAIN gm F`:"F"*'e

uNDER THE civiL RIGHTS AcT, 42 U. s. c. sec. 193 "?`~~"

U".`:` hill l ‘\
UYSTERN DISIRICI (!‘.i ‘j \`.E?AS

IN THE UNITED STATES DISTRICT COURT

 

 

EASTERN DISTRICT oF ARKANSAS MAR 3 1 2003
PineBlurf DIvIsION JAM “’
3 By.- ES W- MCCORMACK, E.
}eSse RobertFurr ‘ .-.
ADC # 96099

 

 

(Enter above the full name of the
plaintiff, or plaintiffs, in this
action.)

v _ CASE NO. ¢/` Qj@(jOQ ig 5

,,_-

Greg Harmon; Tommy Jzuncs; Dr. James l. Cagle, MD; Dr. 1 ad
Andcl'Son, MD', Sara Speer

 

 

 

(Enter above the full name of
defendant or defendants, in Thcr¢,c?"quT-wa~ 34 wa. F(M‘ ]LjISA]E=L
this action.) " "` "

  

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3;1_’. . ,\. Magl&,l.'t-z’.O ‘__.._ \. . ...i._.. . _............._-

l. Previous Lawsuits

A. Have you begun other lawsuits in state or federal court
dealing with the same facts involved in this action?

Yes No X
B. lf your answer to A is yes, describe each lawsuit in
the SPaCe b@lOW- (lf there is more than one lawsuit,

describe the additional lawsuits on another piece of
paper, using the_same outline.)

 

 

 

 

1. Parties to this lawsuit
Plaintiffs:
Defendants:
L Ccurt (1f federal court, name the district; if state

court, name the county:

 

 

 

 

case B.uo-tv-uui¢o-BRW_DUCWFZ_FHEU'O$BMS_PHQ'E'EH_

lL

III.

IV.

3. Docket Number: ___ ____ _

4. Name of Judge to whom case was assigned:

5. Disposition (for example: Was the case dismissed?
was it appealed? ls it Still pending?): ____

6 Approximate date of filing lawsuit: __ _

l. Approximate date of disposition: ___ _

place Of present COI-lfinement : Arkansas Department ofCorrection, Maximum Sccurity

Unit Tuckcr, Arkansas

There is a risoner grievance procedure in the Arkansas
Department o Correction. Failure to complete the grievance
procedure may affect your case in federal court.

A. Did you present the facts relating to your complaint
in the state prisoner grievance procedure?
Yes X No

B. If your answer is YES, Attach copies evidencin

completion of the final step of the grievance appea
procedure. FAILURE TO ATTACH THE REQUIRED COPIES MAY
RESULT IN THE DISMISSAL OF YOUR COMPLAINT.

C. lf your answer is NO, explain why not: ___
Parties

(ln item A below, place your name in the first blank and
place your present address in the second blank. Do the

same for additional plaintiffs, if any.)

A. NElm@ Of plaintiff: l§$eRobertFurr _

Address: znuSmwlwnanquma;Ammw%vzmsann

Name of plaintiff;

Addr@SSf _ __ ____ ___ ________ __

Name of plaintiff:

 

Address:

 

 

"""" ':""’ MMM
v\A\J\.l v-VV

(In Item B below, place the full name of the defendant ln

the first blank, his official position in the second blank,

his place of employment in the third blank, and his address in
the fourth blank.)

Defendant: §mg§q@mn___
Position : Whmen
Place of employment: E%t$d@nws§§§ondl@u

Addres 5 : 326 Lee 60_], P.Q. Box 180, Brickeys, Arkansas_‘/'_Z_3_;0

 

 

Defendant : _Iommy_lar_nes
POSitiOrl : _§S_istant Ward¢n
Place of employment: Mamgmmj¢mnny§mr

AddrES S : 2501 Stat_§: Fal_'rn Rd., Tucker, Arkansas_?Zlé_S-S'SQ_’,¢_

 

Def€ndant : D_l'__. 1§_\11__¢_1€¥3011, MD _ Fi_r_St Name Unknown
Position : MedauDomm

Place of employment: Ma§mgm$emnuqut

Addreg 5 ; ZSQ_l_State Fa_rm Rd_, Tuc_l§er, Arkansa$ 72§8-9503»_

Defendant: Q§lggsl(hgk_Mp__
Position : Mbdmupomor______
Pleee ef empleyment= seemsD@eer_tnel_t__e_fCem€e_i_en_____

eddrees = rees mm Pmr__ef_\ii§_eenes vel

De fendant : Sara Speer ----- _(No longer works at Max U_n_it_; now Wol'ks _a_t_A_l_cX_a_nder Yo_uth Ce_nte_r_)_
Pos it ion : ln_i:l_rl_nai_'y_Manager or St_aff P¢rsonnel

Pleee ef empleymeet =___e'eseme Yeufh Ceme__

Address: _akxmmm\bum(kmm;Abrmmm;A$m§§L__

_3_

 

 

Vl.

Statement of Claim

State here as briefly as possible the facts of your
case. Describe how each defendant is involved. Include
also the names of other persons involved, dates, and places.
Do not give any legal arguments or cite any cases or

statutes. If you intend to allege a number of related
cjaims, number and set forth each claim in a_separate
Pareqraph- (Use as much space as you need. Attach extra

sheets lf necessary.)

(SEE ATTACHED PAGES)

Relief

State briefly exactly what YOU want the court to do for YOU.
Make no legal arguments. Cite no cases or statutes.

(SEE ATTACHED PAGES)

l declare under penalty of perjury (18 U. S. C. § 162l that
the foregoing is true and correct.

Executed on this 1;{~ day of IWG€LL ,ZOQQ.

il \ l ' .’

 

 

 

Signature(s) of plaintiif(s)

_4_

 

STATEMENT OF CLA|M

Sometime around December29, 1994 to November 30, 1995 l was medically taken out of the Ee|ds
and given an inside job, because of a partial disability l received from the free-world after being injured on a
drilling rig. On or about 1993 | was medically classified as M-2 with several restrictions

On or about February 1989, l was injured while working on a drilling rig. l sustained many injuries
from this incident, including a back injury. From the time of the injury in 1989 until around January 1990 | was
under the care, and treatmentl of Dr. lvlarten Geitz, a back specialist out of Odessal Texas. During this time l
was not allowed to return to work. This doctor completed a series of test and, based on his opinion and medi-
cal experience, determined that my injuries were serious enough to renders partial disability on my back. |
was awarded with a partial disability from the State of Texas.

On or about 1995l 96, or 97 | was diagnosed with having tendonitis in both my right and left arms |
was diagnosed by Dr. Andersonl Dr. Young, Dr. Sangoseni, RNP Becky Johnston, and several other medical
staff members with having tendonitis l was put on |ndomethacin 50 mg. for the pain and swelling, this is a
pain reliever forjoint pain, stiffness inflammation and swelling of arthritis and gout_

March 6 2002 | was reassigned by the unit classification committee and placed on Fie|d Uti|ity #1. |

 

informed Warden Harmon, who was the head committee member, as well as, an employee of the Arkansas
Department of Correction, that | was medically taken out of the fields around 1994 or 1995 due to the disability
on my back. l also told him of the tendonitis that when strained or abused, causes sever pain and swelling in
my arms This committee assigned me to field activity anyway

l asked l\/ls_ Speer the infirmary managerl who was also a member of the unit classification committee
to explain my medical problems and restrictions to Warden Harmonl as this is her job on this committee She
said there was nothing she could do. lvls Speer said that | could go to work in the fields so the committee
decided that | was physically and medically capable of performing this outside work.

Since |V|arch 6, 2002 | have put in numerous amounts of sick call request with the unit infirmary con-
cerning my medical problems At this time Fie|d Uti|ity only worked four (4) hours a day. Because of the pain
and swelling in my arms due to the type of strenuous work | did, l was given a medical script for one (1) arm
duty because the tendonitis in my left arm was worse than my rightl

June 26, 2002 the unit RNP, Becky Johnston, felt my medical problems were serious enough to issue
me a medical script for a fifteen (15) pound weight |irnit, four (4) hours work duty assignments on|y, and one
(1) arm duty that would of expired on December 26, 2002. This medical script took me out of the fields (See
Exhibit - A)

 

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i went up before the unit classification committee on Juiy 3, 2002 to be reassigned to inside Buiiding

Uti|ityl the properjob assignment for my medical restrictions Warden i-iarmon, the head committee member,
deferred me stating that they had to get with the infirmary on my medical script. Assistant Warden James,
second in command cf this committee, stated that the signature on the medical script was not worth the paper
it was written on, and that he personally was going to talk to the doctor concerning the medical scripts N|s.
Johnston was writing

Again on Ju|y 17, 2002 i was brought up before the unit classification committee to be reassigned to
inside Bui|ding Uti|ity. Warden Harmon asked the field major, who was also a member of the classification
committee, if he had got with the infirmary concerning my medical script, he said that he hadn’t . Ms_ Speer
the infirmary manager, also a committee member, who has every inmates medical NISF-103 forms present this
day. i asked her to explain to this committee my medical restrictions l\/is. Speer put her hands in the air and
said she did not know. Warden Harmon once again deferred me stating that they needed to get with the infir-
mary.

Ju|y 19, 2002 the infirmary poner, an inmate, brought me a new medical script from Becky Johnston
for one (1) arm duty oniy. He lthe inmatel stated that lvis. Johnston said this was ali she could do for me be-
cause Warden James. and l\lls. Speer went to Dr. Anderson about this medical script and said that i didn’t
need it, Dr. Anderson had |V|s. Johnston change my medical restrictions without nrst re-evaiuating me. (See
Exhibit - B)

July 22l 2002 i was told that i had to report back to field work or face major disciplinaryl The Fieid
Uti|ity Squads now work eight (B) hours a day. Later that day at work because of my weight of over 300
pounds and a temperature of 98°, i became extremely overheated to the point of staggering then falling to my
knees of heat exhaustion At this point | completely stopped sweating , and began to have chest pains and
body cramps. | was taking to the infirmary and treated by nurse Seals for heat exhaustion which resulted in
24 hours bed rest_

July 23, 2002 i filed an emergency grievance on this butl was said by Warden Harmon not to be an
emergency situation From Juiy 23, 2002 to August 30, 2002 i filed several emergency grievances concerning
my medical situation ALL grievances were ignored. (See Exhibit (s) - G)

Ju|y 30l 2002 after eight (8) days of not working Fieid Uti|ity Squad was taken out_ Later this day i
began to have sever chest pains, and ,over heated i informed the squad rider of my situation a short while
later i completely passed out due to the extensive heat. Severai inmates on my squad carried me to a shade
tree, the field rider called for Lt. Sheiton who took me to the infirmary where i was treated by N|s. Speer, Be-
cause my temperature was 102°, l\/is. Speer had me put in a bath tub of luke warm water to bring my body

temperature down. i was giving a three day lay-in nothing was done for the chest pains

August 1l 2002 i filed a letter complaint with Correctional lviedicai Services (ClvlS) concerning the
negligencel and how the infirmary was letting non-medical personnel dictate what inmates need or don't need
when it comes to medical treatment or restrictions This complaint was unanswered (See Exhibit - C)

Again on August 2, 2002 while at work in the fields i began to have sever chest pains During turn in l
informed Sgt. lvloore of my chest pain he took me to the infirmary where l was once again seen by lvls_ Speer.
l was giving no treatment whatsoeverl Ms. Speer said l would see Dr. Anderson or_. he would review my medi-
cal chart about giving me a four (4) hour work assignment medical script, because she said l didn’t need to
work in the fields eight (8) hours a day because of my weight of over 300 pounds She also stated that she felt
my chest pains were caused by me overheating in the fields Four (4) hour outside duty is one of the restric-
tions Ms. Johnston gave me, but, was taken because of interference by lvis. Speer and Assist Warden James
Dr. Anderson on August 3, 2002 issued me a script for four (4) hours outside duty only for the remainder of the
summer, l was not evaluated by him. (See Exhibit - D)

August 5, 2002 i went to sick call concerning chest pains, as weil asl pain and swelling in my elbow
and hand l was told that my vital signs were ok, with no other treatment done. l was told to come back if l
continued to have chest pains

August 6, 2002 l turned in a sick call because l hurt my back when l slipped on the wet floor getting
out of the showerl pain and swelling in my elbow and hand, and chest painsl i was not seen by anyone_

August 7, 2002 | wrote a letter to Ms. Speer after continuing to have chest pains and asked if she
would let me see Dr. Anderson concerning these chest pains l also informed Ms. Speer that i have a history
of heart attacks in my fami|y. | also turned in a sick call request concerning my back pain pain and swelling in
my elbow and hand, and chest pains | was seen by nurse llilitchell and was giving three (3) days no duty and
pain relievers for the pain in my back, hand and eibow. i was also scheduled to see the doctor (See Exhibit -
E)

August 8, 2002 i was called to the infirmary to see a new doctorl Dr. James i. Cagie, l was not sched-
uled to see anyone this day_ l\/ls_ Speer called me to her office and said that this was the day that all my prob-
lems were going to be dealt with_ Ms_ Speer told Dr. Cagie that she had to speak with him before he Seen me_
Dr. Cagie and iVis. Speer had a behind closed door meeting for approximately fifteen (15) minutes concerning
me. When i was called to see Dr. Cagie he began asking me questions about the type of pain l was having in
my arms Alter explaining this to him, Dr, Cagie said he was going to give me a blood test while my arms were
inflamed l informed him that my arms were not fiamed because cl the pain relievers i had been taking i also

informed him that my arms only become inflamed when strained or abused i also began to tell him about my

 

back pain how i hurt it slipping on the wet floor getting out of the shower and how it was still a little sorel also

of the free-world disability on my back. Dr. Cagie gave me a blood test and scheduled me for a follow-up ap-
pointment and back x-rays for August 12, 2002. Dr. Cagie informed me that a blood test would do no good if
my problems were not inflamed

August12,2002 | was called to the infirmary for another blood test. The treating nurse said that Ms.
Speer ordered another blood test because the test Dr. Cagie took was not sent out on time and another one
had to be done. l informed this nurse that Dr. Cagie said that a blood test would do no good if the problems
were not infiamed, which at this time they were not inflamed the blood test was taken anyway

August 2?, 2002 i went to doctors call to see Dr. Cagie. Dr. Cagie said that my blood test came back
normal and he sees no sign of me having tendonitis or lower back pain flair ups l informed Dr. Cagie that lvls.
Speer had more blood drawn from me on August 12, 2002 because they messed up on the one he did He
refused to act on this or schedule me for another blood test when l was having flair up problems l reminded
him of what he said concerning a blood test being no good if the problem was not infiamed, which mine wasn't
at the time due to pain relievers Dr. Cagie based his opinion on a blood test, he himself said would be no
good if my problem was not inflamed | also told Dr. Cagie that the back x-rays that he ordered were never
done_ He ignored this and based his opinion on the blood test aione. Dr. Cagie refused to acknowledge my
free-world disability otto act in any way to my medical problems He has taken all my restrictions that deal
with my tendonitis, which has caused constant pain and swelling in my arms_ This doctor based on a blood
test that was taking when there was no inflammation said l didn’t have tendonitis but, on two occasions after
this, he renews my |ndomethacin which treats the tendonitis

Some time in September 2002, i Was called to the infirmary, x-rays that Dr. Cagie ordered in August
were finally taken l was called back to the infirmary a week or so later to see Dr. Cagle. Dr. Cagie said my
back x-rays were fine and he sees no problems with my back. i informed him that my free-world doctor had to
do a cat scan which discovered my medical problem because it would not show in an x-ray_ Dr. Cagie refused
to order another cat scan because of the cost. A Cat scan will show the full extent of my back conditionl

in November 2002, l filed a complaint against Dr. James l. Cagie with the Arkansas State Medicai
Board. in Dr. Cagie's report to this medical board he told them Quote: “l did not reach my conclusion be-
cause | harbor animosity toward Mr. Furr. Do | believe Mr. Furr is malinqerinq? Yes, l do." (See pg. 3
of Exhibit - F)

The Deflnition of lv'iaiingering:

MALiNGER|NG: 1. To pretend to be ill or otherwise physically or mentally incapacitated

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so as to avoid duty or work. 2. To Deilberater induce, protract, or exagger-
ate actual illness or other incapacity so as to avoid duty or work.

Warden Harmon and Assistant Warden James, have violated my Fourteenth (14) Amendment Right
to Due Process and Eighth (8) Amendment Right to be free of Cruel and Unusual Punlshment. Both of these

 

officials have interfered with prescribed medical treatment which has caused me pain and suffering by forcing
me to perform work assignment outside my medical capability it was their duty as the classification committee
to see that l am properly assigned to a job that fits my medical condition By these officials doing this they
have shown Deilberate indifference

 

Correctionai lvledical Services (CMS), Dr. James i. Cag|e, Dr. Anderson and Sara Speer have violated
my Fourteenth (14) Amendment Right to Due Process and Eighth (8) Amendment Right to be free of Cruel and
Unusual Punlshment, as well as, my Right under The Americans With Disabillties Act (ADA)_

lvis. Speer has shown Deilberate indifference when she failed as a member of the unit classification
committee to inform this committee of my medical problems which this is herjob on this committee Also
when she knew of my medical condition she signed and agreed that l capable of doing this type of work. This
is also Negligence and lvledlca| llllalpractlce.

Dr. James i. Cagie has shown Deilberate indifference by knowing of my medical condition and free-
world medical disability but continued to have me perform work that was hurting me. in fact Dr. Cagie has
shown l\iegligence and Medlca| l\lialpractice.

Dr. Anderson has shown Deilberate indifference when he allowed non-medical personnel to interfere
with prescribed medical treatment Dr. Anderson has shown Deilberate indifference negligence , and Medicai
lvlalpractice when he ordered l`vls. Johnston to changed my restrictions without first evaluating me, and then
giving me some of the same restrictions back that he ordered changed without evaluating me flrst.

Correctionai Medicai Services (CMS) has shown Deilberate indifference when they failed to act or ac-
knowledge the medical complaint l filed with them against Dr. Cagle. They have been made aware of the
situation but refused to act or to instruct their employees to administer proper medical treatment which is a
clear violation of my Fourteenth (14) Amendment Right to Due Process and Eighth (8) Amendment Right to be
free of Cruel and Unusual Punlshment.

RELiEF

Petltioner asks for five thousand ($5000.00) dollars a piece froml Greg Harmon, Warden and Tommy
James Assistant Warden , in their official capacity, and five thousand ($5000.00) dollars a piece in their unoffi-
cial capacity For their willingly and knowingly violation of petitioners Fourteenth (14) Amendment Right to Due
Process and Eighth (8) Amendment Right to be free of Cruel and Unusual Punlshment, as well as my right un-
der The Americans with Disabilities Act (ADA), and A.D.C. policy And to have my medical and restrictions
corrected

Petitioner asks for five thousand ($5000.00) dollars a piece from, Correctionai lvledicai Services
(C|\ilS), Dr. ilindersonl il/iD, Dr. James i. Cagle, lle, and Sara Speer, RN, in their ochial capacity and five
thousand ($5000.00) dollars a piece in their unochia| capacity For their willingly and knowingly violation of
petitioners Fourteenth (14) Amendment Right to Due Process and Eighth (8) Amendment Right to be free of
Cruel and Unusual i=’unishmentl as weil as my right under The Americans with Disabilities Act (ADA), and A.D.
C. policy And to have my medical and restrictions corrected

Plaintiff also ask that relief in the amount of $10,000_00 in damages for pain and suffering and any
and ali other relief this Honorabie Court deems necessary

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